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  4
      Entered on Docket
___________________________________________________________________
  5 August 26, 2022

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  8
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         ATKINSON LAW ASSOCIATES LTD.
 10      376 E Warm Springs Rd, Suite 130
         Las Vegas, NV 89119
 11
         Telephone: (702) 614-0600
 12      Attorney for Robert E. Atkinson, Trustee

 13                                UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEVADA
 14

 15
            In re:                                              Case No. 21-14486-abl
                                                                Chapter 7
 16         INFINITY CAPITAL MANAGEMENT, INC.
            dba INFINITY HEALTH CONNECTIONS,                    ORDER SUSTAINING TRUSTEE’S
 17                                                             OBJECTION TO CLAIM NO. 5
 18
                                Debtor.
                                                                Hearing Date: August 25, 2022
 19                                                             Hearing Time: 11:00 a.m.
 20

 21              The Court reviewed and considered the Trustee’s OBJECTION TO CLAIM NO. 5
 22      [DE #228] (the “Objection”). No opposition to the Objection had been filed. Good cause
 23      appearing,
 24      IT IS HEREBY ORDERED:
 25             1.    The Objection is sustained.
 26             2.    Proof of claim no. 5 filed by PERSEUS LIMITED is hereby disallowed.
 27      IT IS SO ORDERED.
 28                                                 # # # # #



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     Submitted by:
 2
           /s/ Clarisse L. Crisostomo
 3   CLARISSE L. CRISOSTOMO, ESQ.
     Nevada Bar No. 15526
 4
     Attorney for Robert E. Atkinson, Trustee
 5

 6                                 CERTIFICATION re: RULE 9021
 7
     In accordance with LR 9021, counsel submitting this document certifies that the order accurately
 8   reflects the court’s ruling and that (check one):
 9
            The court has waived the requirements set forth in LR 9021(b)(1).
10
            No party appeared at the hearing or filed an objection to the motion.
11
            I have delivered a copy of this proposed order to all counsel who appeared at the
12
            hearing, and any unrepresented parties who appeared at the hearing, and each has
13          approved or disapproved the order, or failed to respond, as indicated below:

14          I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
            order with the motion pursuant to LR 9014(g), and that no party has objected to the
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            form or content of the order.
16
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